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March 17th, 2020
Via ECF
Hon. William H. Pauley
U.S. District Court, $.D.N.Y.
c/o United States Courthouse
500 Pearl Street
New York, NY 10007

Re: United States v. Michael Cohen
(18-cr-602 [W.H.P.])
(18-er-852 [W.H.P.])

Dear Judge Pauley:

I write to you as a followup to my March oth letter, and Chief Judge Colleen
McMahon’s directive addressed to court protocols to be followed in the Southern
District as a consequence of the coronavirus epidemic.

This letter seeks to focus my pending application on a sentence
modification as a consequence of the Bureau of Prisons being demonstrably incapable of
safeguarding and treating B.O.P. inmates who are obliged to live in close quarters and
are at an enhanced risk of catching coronavirus.

Turning to the merits of the pending Rule 35 application, I urge the Court
to consider my client’s exposure to the coronavirus, and grant the Rule 35 motion to the
extent of modifying the previously imposed 36 month sentence to be served on home
confinement.

T attach some thoughtful commentary from the blog “Sentencing Law and
Policy.” In the absence of Presidential leadership, judges should act thoughtfully and
decisively. President Trump apparently does not subscribe to President Harry Truman’s
observation “The buck stops here.”

Very truly yours,

FLA SSAW DNA
Rogd¢r Bennet Adler
Attorney for Defendant Michael D. Cohen

 

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Via email

Assistant U.S. Attorney Thomas McKa
Michael Monico, Esq. ;
Mr. Michael Cohen

 
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Blog feedback

& suggestions

 

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MY OTHER
BLOGS

 

 

When and how will federal
authorities start systematically
modifying federal sentencing and
prison realities in response to
COVID-19 outbreak?

| have previously already blogged here (March 3)
and here (March 12) and here (March 13) on the
potential impact of the coronavirus on prisons
and jails, but it seems the world changes a few
dozen times each day when it comes to this
global pandemic. And now it is obvious that
sentencings and prisons are already being
impacted dramatically, with this Crime
piece providing just some of the details. The
piece is headlined "Corrections Authorities Eye
Inmate Release, Halts in Visits, to Prevent Virus
Spread," and here are excerpts:

Repor

Authorities have begun focusing on
America’s overcrowded prisons and
jails — environments where “social
distancing” can be problematic —
as critical danger points for the
spread of Covid-19. Actual
infections and fear of the
coronavirus have begun to grind the
scales of justice to a halt in pockets
of the U.S. under states of
emergency as judges and lawyers
struggle to balance the
constitutional rights of defendants
against the concerns that the public
institutions could unwittingly
become contamination sites, CNN
reports.

“The whole system is coming toa
halt,” said New York City criminal
defense lawyer Gerald Lefcourt.
“lm sure everybody is wait-and-see
at the moment,” he added, saying
he wouldn’t be surprised if
prosecutors and defense lawyers
seek to resolve cases outside of a
trial, either through plea bargains
or dropped cases....

 

LINKS &
RESOURCES
Case 1:18-cr-00602-WHP Document 69 Filed 03/17/20
MY BOOKS
JOURNALS

 

 

 

 

 

 

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FIND LAW

PROFESSORS

 

In Ohio, dozens of inmates were
released from jail sooner than
expected to help reduce the
population inside the Cuyahoga
County jail, as a way to minimize
potential virus outbreaks inside
jails. The Ohio county judges held a
rare court session to hear cases
involving low-level, non-violent
offenders on Saturday, according to
Channel 11 News. Some 38 inmates
were released from the Cuyahoga
County jail after they appeared in
court.

In Michigan’s Kent County, bond and
sentence modifications are being
discussed to allow some inmates to
be released. “We are taking
precautions, like everyone else,
and making arrangements to deal
with what is presented to us,” Kent
County Sheriff Michelle LaJoye-
Young told ABC 13.

And in Minnesota, the state’s public
defender recommened that
nonviolent offenders should be
released from jail because of the
threat of coronavirus. “! am no
doctor, but | think it’s better for
them to be on quarantine at
home,” said Bill Ward told the
Pioneer Press on Sunday. “The
request is to treat them humanely.”
Two jails in southern Minnesota
have each had one inmate with a
confirmed case of the disease,
Ward said. Diseases from the
common cold to the flu spread
more quickly in prisons — so
coronavirus poses a greater risk for
inmates.

Efforts to limit the spread of
disease in the nation’s corrections
systems also included suspending or
curtailing visits to prisoners,

This new New York Times comn nentary
effectively details why many working in the
criminal justice arena have been thinking about
this issue for some time already. The extended
piece should be read in full, and its full headline
highlights the themes: "An Epicenter of the
Pandemic Will Be Jails and Prisons, if Inaction
Continues: The conditions inside, which are
inhumane, are now a threat to any American
with a jail in their county — that’s everyone."
Here are passages:

—2A~-

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CRIMINAL LAW
BLOGS

DEATH PENALTY
BLOGS

MARIJUANA
REFORM BLOGS

 
Case 1:18-cr-0O0602-WHP Document 69 Filed 03/17/20

RECENT POSTS

 

In America’s jails and prisons,
people share bathrooms, laundry
and eating areas. The toilets in
their cells rarely have lids. The
toilet tank doubles as the sink for
hand washing, tooth brushing and
other hygiene. People bunked in
the same cell — often as many as
four — share these toilets and sinks.
Meanwhile, hand sanitizer is not
allowed in most prisons because of
its alcohol content. Air circulation
is nearly always poor. Windows
rarely open; soap may only be
available if you can pay for it from
the commissary.

These deficiencies, inhumane in
and of themselves, now represent a
threat to anyone with a jail in their
community — and there is a jail in
every county in the United States.
According to health experts, it is
not a matter of if, but when, this
virus breaks out in jails and prisons.
People are constantly churning
through jail and prison facilities,
being ushered to court hearings,
and then being released to their
communities — nearly 11 million
every year.

“We should recall that we have
5,000 jails and prisons full of
people with high rates of health
problems, and where health
services are often inadequate and
disconnected from the community
systems directing the coronavirus
response,” said Dr. Homer Venters,
former chief medical officer of the
New York City jail system.
“Coronavirus in these settings will
dramatically increase the epidemic
curve, not flatten it, and
disproportionately for people of
color.”

Jails are particularly frightening in
this pandemic because of their
massive turnover. While over
600,000 people enter prison gates
annually, there are about 61 2,000
people in jail on any given day.
More than half of the people in jail
are only in there for two to three
days. In some communities, the
county jail or prison is a major
employer. Jail staff members are
also notoriously underpaid, may not
have paid sick leave and are more

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SEX OFFENSE
BLOGS

OTHER LAW
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y to live in apartments, in close

frequent contact with
hbors. They return home daily

to aging parents, pregnant partners
or family members with chronic
conditions.

penal system should have

received more comprehensive
guidance and material support from
the Department of Justice, far
earlier in this crisis. Like much of
the federal level response, it is
falling short...

American officials can learn from
the harrowing story of South
Korea’s Daenam Hospital. In late
February, South Korea had already
reported more than 3,150
confirmed cases, and of these, 101
were from patients in the Daenam

hiatric ward. Seven of these

patients have now died. All but

patients in the ward contracted
d-19. The ward was put on

lockdown, in an attempt to confine
the spread of the virus. Instead, the
lockdown issued was a death

ence to many inside....

g people who are released after

serving long sentences have a
recidivism rate close to zero.
Governors and other public officials
should consider a one-time review
of all elderly or infirm people in
Prisons, providing immediate

ical furloughs or compassionate

release to as many of them as
possible,

s NY Times commentary makes a
overnors and other public officials," |

strongly believe criminal justice advocacy
groups should be focusing advocacy now toward
President Trump, Congress and federal judges.
For starters, if the federal government leads

ng proactive response, many states

and localities are likely to follow suit. And it
seems there are plenty executive branch tools
already available under current law ranging
from (mass) clemency relief for older and at-risk
prisoners, to the Justice Department and the
Bureau of Prisons (BOP) recommending (mass)
compassionate release or release to home
confinement for older and at-risk folks or
perhaps for everyone who has served, say, 75%

son time.

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NEWS READERS
& FEEDS

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Subscribe me!

THE SOFTWARE
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Congress can and should get involved ASAP by
enacting emergency legislation that could, for
example, give BOP discretion to release any and
every prisoner that has been scored at low-risk
under the FIRST STEP Act's new risk tools. Or,
perhaps better yet, Congress could authorize
the creation of a new “emergency agency”
tasked with immediately devising the most
effective and humane and just way to reduce
the number of persons, in both the federal
system and in state systems, now seemingly
subject to having a jail or prison sentence
turned into a possible death sentence by COVID-
19,

Federal judges can and should be proactive here
as well. In addition to re-calibrating their
3553(a) sentencing analysis given the ugly new
reality of prison life, judges should sua sponte
reconsider any and all past denied
compassionate release motions because times
surely have changed. | think every single
federal prisons has an argument that the
coronavirus has created “extraordinary and
compelling reasons” that warrant a sentence
reduction, and | wonder if anyone has thoughts
about seeking a national class action on behalf
of all federal prisoners under the statutory
provisions of 18 U.S.C. § 3582(c)(1)(A) in order
to at least establish a baseline of eligibility for
sentence modifications.

| could go on and on, and | likely will in some
coming posts. But the title of this post asks
“when and how" not “if* our normal rules will
change because | sense some federal judges and
prison officials are already working on COVID
responses in various scattered ways -- in part
because everyone realizes that it is essential for
the health of federal prison workers, as well as
for prisoners, for there to be smart efforts to
reduce prison populations amidst this global
pandemic. At some point, these scattered
efforts will become a systematic plan, | sure
hope that happens sooner rather than later.

Prior coronavirus posts:

 

March 16, 2020 in Cr
Administration, Imy

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THE LAST GREAT RACE'

 

= Main Menu

A Message to All 2020 IditaRiders

Posted by Diane Johnson in Iditarod
Date: January 18, 2020 7:51 am

Hello IditaRiders!

You will soon be headed down the trail for an 11 mile ride at the Start of the
2020 Iditarod on Saturday, March 7. Congratulations on being a 2020 IditaRider!

First, a big thank you to all bidders who participated in this year’s auction. Your
donation to the race is very important! Thanks so very much! AND
congratulations to those who won their bids. We know that the 2020 IditaRiders
will have an amazing time!

“ VERY IMPORTANT INFORMATION FOR RIDERS: You were sent you a link toa
survey that provides us with essential information we need to know prior to
your ride. If you did not receive that email, please contact Diane Johnson.
(djohnson@iditarod.com or call 605.290.3423.)

We also need you to provide us with ONE other document. If you have not
provided this to us, click here to view the document, then print this document,
Sign it, and get to us in one of these ways: 1. Scan and email to Diane 2. Fax
to: 907-373-6998 3. Bring to the Friday mandatory meeting. We must have this
document in order for you to ride on Saturday. No document, no ride. Thanks
for taking care of this as soon as you can!

Special Events:

* Thursday, March 5, at noon: Meet your musher for a Pizza Lunch Meet and Greet held in your honor
on the 3rd Floor, Lakefront, Anchorage Hotel, our race Anchorage Headquarters. Plan on arriving
around 11:30 AM. Lunch is about an hour,

* Thursday, March 5: Musher Drawing Banquet, Dena’ina Center, Downtown Anchorage. If you wish to
attend, you can purchase banquet tickets by clicking here.
